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 3   Email: contact@aynurlawyers.com
 4   AYNUR BAGHIRZADE, IN PRO SE
 5
 6
 7                    UNITED STATES DISTRICT COURT
 8                   SOUTHERN DISTRICT OF CALIFORNIA

 9
                                           Case No.: 3:24-CV-01077-RSH-MMP
10   AYNUR BAGHIRZADE,
                                           EX PARTE APPLICATION TO
11                          Plaintiff,     RECONSIDER JUDGE ROBERT
12           v.                            HUIE’S ORDER DATED JANUARY
     ARMENIAN NATIONAL                     6, 2025 GRANTING IN PART
13                                         PLAINTIFF’S MOTION TO
     COMMITTEE OF AMERICA, et al.,
14                                         CONTINUE DEFENDANTS
                                           ORANGE COUNTY BAR
15                                         ASSOCIATION, TRUDY
16                                         LEVINDOFSKE, TERESA VUKI
                                           AND LOS ANGELES COUNTY BAR
17                                         ASSOCIATION, SETH CHAVEZ
18                                         AND COCO SU’S MOTIONS
                                           HEARING DATES
19
20
                                           Presiding Judge:
21                                         Magistrate Judge : Hon. Michelle M.
22                                         Petit
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 1         This Motion is made pursuant to LR 7.1. (i).
 2
 3   I. FACTUAL AND PROCEDURAL BACKGROUND
 4
 5         Plaintiff filed an ex parte application before this Court making it clear that
 6   she is a pro se party moving against multiple defendants in the present case and she
 7   has 5 defendants to respond to their motions in the month of January. (Docket #
 8   136). Plaintiff articulated the need in her motion to continue Defendants Orange
 9   County Bar Association, Trudy Levindofske, Teresa Vuki and Los Angeles County

10   Bar Association, Seth Chavez and Coco Su’s noticed motions hearing dates to

11   March 6, 2025, so that she can respond to their motions on or before February 20,
     2025, as she will need to answer to two motions and she had another motion to
12
     respond on or before February 6, 2025 (Docket # 140). Plaintiff explained the need
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     to continue Defendants’ motions hearing dates with the fact of the holidays and
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     number of motions she will need to answer in the month of January as well as the
15
     fact that both attorneys for the Defendants happily got more than 60 days to
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     prepare their motions and their resistance to continue their hearing dates now is
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     nothing more than an attempt to undermine Plaintiff’s opportunity to properly
18
     research their allegations and respond to them on time. Judge Robert Huie made an
19   order moving the deadline for the Plaintiff to respond to Defendants’ motions to
20   January 27, 2025, while knowing that Plaintiff has a deadline to respond to
21   Defendant Attorney Search Network and Jake Baloian’s motion on or before
22   January 22, 2025, and before she has another deadline to respond to Defendants
23   Armenian National Committee of America (“ANCA”), Armenian National
24   Committee of America Western Region (“ANCAWR”) and Aram Hamparian’s
25   motion on or before January 16, 2025. Besides these facts, another motion with the
26   same deadline to answer - January 27, 2025, was added to the docket as another
27   Defendant Greystar Inc. filed its motion on January 6, 2025 (Docket # 148). So,

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 1   basically, Plaintiff has to respond to three motions within 5 days which is
 2   practically and physically impossible for the pro-se litigant, it is even impossible
 3   for the big law firms, all Defendants were asking for the time to prepare their
 4   motions and Plaintiff clearly do not understand that she has to be different.
 5   Considering ongoing harassment Plaintiff experienced with filing her oppositions,
 6   closure of her Pacer account multiple times, court staff efforts to undermine
 7   Plaintiff’s case by all possible means from very beginning Plaintiff filed an
 8   Affidavit/Motion to Disqualify the Judge on January 6, 2025 (Docket # 147).
 9   Plaintiff hereby requests to reconsider Judge’s decision to continue Defendants’

10   hearing dates in such way as to allow her normal space of time to respond to all

11   motions on time and with quality.

12
     II. ARGUMENTS
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14
           1. Defendants’ allegations that she created the “crisis” by suing multiple
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     defendants is laughable.
16
17         “Rule 20 governs permissive joinder of parties and explains that a Plaintiff
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     may only join multiple Defendants in a single case if: (1) “any right to relief is
19
     asserted against them jointly, severally, or in the alternative with respect to or
20
     arising out of the same transaction, occurrence, or series of transactions or
21
     occurrences,” and (2) “any question of law or fact common to all defendants will
22
23   arise in the action.” Fed. R. Civ. P. 20(a)(2).” Gorbey v. Chambers, No. 3:20-

24   CV-806, 2020 WL 2574651, at *2 (M.D. Pa. May 21, 2020). “In other words,
25   notwithstanding the broad joinder-of-claims language of Rule 18(a), a Plaintiff
26   may join multiple Defendants in a single complaint only if he asserts at least one
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     claim linking all Defendants that (1) arises out of the same transaction or
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 1   occurrence and (2) involves a common question of law or fact. Id.; Wright &
 2   Miller, supra, § 1655. That is, there must be at least one common claim against all
 3
     named Defendants. Once a Plaintiff satisfies this requirement, he may invoke Rule
 4
     18 to assert “as many claims as [he] has” against one or more Defendants, even if
 5
     those additional claims are unrelated to the common claim linking all Defendants.
 6
 7   See Fed. R. Civ. P. 18(a); Wright & Miller, supra, § 1655.” Id.

 8
 9         Defendants are sued under Racketeer Influenced and Corrupt Organizations
10   Act (RICO) for forming a cartel against Plaintiff’s business, they are all
11   interrelated and correlated in their purpose to destroy Plaintiff’s business. Plaintiff
12
     cited enough predicate acts related to every Defendant in her SAC, ¶¶ 136 - 154,
13
     ¶¶ 158 - 170, SAC. So, it is not Plaintiff who has to be blamed for suing multiple
14
     defendants in one single case, it is Defendants who bear the responsibility for what
15
     is happening. Now, claiming that Plaintiff is responsible for the “crisis” when they
16
     literally joined a terrorist organization in persecuting Plaintiff’s business is
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     laughable. Another month of “waiting” would not harm Defendants if the justice at
18
     the stake.
19
20
           2. When the case involves multiple defendants and multiple motions are
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     filed, more than 30 day additional time to respond to those motions is
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     justified.
23
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           “The district court did not abuse its broad discretion by denying counsel's
25
     sixth extension of time for discovery after ordering that no further extensions of
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     time would be allowed absent good cause because the case had been pending
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     almost two years.” Cornwell v. Electra Cent. Credit Union, 439 F.3d 1018, 1027
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 1   (9th Cir. 2006)” Brooks v. Agate Res., Inc., 836 F. App'x 471, 473–74 (9th Cir.
 2   2020). “ In United States v. Tibboel, 753 F.2d 608 (7th Cir. 1985), the Seventh
 3   Circuit held that in a case with multiple pretrial motions the permitted “under
 4   advisement” time period may exceed thirty days…In United States v. Pedroza, 269
 5   F.3d 821, 830 (7th Cir. 2001), the court confirmed that additional time beyond the
 6   thirty-days of subsection (J) is permitted the court when multiple motions are filed,
 7   so long as the court acts with “reasonable promptness.” see also Salerno, 108 F.3d
 8   at 737.” United States v. Pansier, No. 05-CR-272, 2007 WL 9728535, at *3 (E.D.
 9   Wis. June 13, 2007), aff'd, 576 F.3d 726 (7th Cir. 2009).
10
11            Here, The Plaintiff request was a second request for the extension of time,
12   Plaintiff before requested only one extension which was granted for less than 30
13   days. On what ground Judge Robert Huie thinks that she has to respond to 2
14   motions in 4 days after the deadline for her to respond to another motion, and why
15   it should be a final extension in her case while it was just her second request for

16   extension and how Defendants will be prejudiced if the extension for more than 30

17   days is granted is not clear. Moreover, Judge was perfectly aware that another

18   motion with the same deadline will be added to the docket on January 6, 2025.

19   Plaintiff now has to respond to three motions with the same deadline in 4 days

20   range which is clearly impossible. Plaintiff now seeks reconsideration of this

21   order.

22
23            3. Defendants will not be prejudiced by continuance of their motions’

24   hearing dates and Judge’s order was an act of retaliation, discrimination and
     fraud on court.
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 1         Additionally, Court failed to analyze what will be the prejudice to the
 2   Defendants if Plaintiff files her response in February. The delay in adjudicating the
 3   claims is not sufficient to give Plaintiff insufficient time to evaluate motions of
 4   Defendants and have ample time to respond to them. Plaintiff in this case would be
 5   prejudiced much more than Defendants who were continuously asking for the
 6   extension of time both when Plaintiff filed her FAC and then filed her SAC. See
 7   Exh. A and B. Moreover, in lieu of other circumstances besides Judge’s order
 8   setting unrealistic deadline for the Plaintiff to respond to Defendants’ motions,
 9   Plaintiff considers this order as an act of the prejudice against her, made in
10   retaliation and in another hope to destroy Plaintiff’s case, as such Plaintiff requests
11   reconsideration of this order and granting her enough time to respond to
12   Defendants’ motions.
13
14         4. Since the Plaintiff is a pro-se litigant because she didn’t request the
15   court to register her as an attorney of record and she was coerced by fraud
16   into such registration, her applications must be viewed liberally.
17
18         Plaintiff filed a motion/affidavit to disqualify the judge (Docket # 147 ) for
19   among other things allowing coercion of Plaintiff to be admitted to this Court as an
20   attorney of record while she had an order granting her the right to use Pacer system
21   for electronic filings. Since she was forced to be admitted to this court as a Counsel
22   of record, liberal rules applicable to pro-se litigants shall apply to her. “The rule of

23   liberal construction “protects the rights of pro se litigants to self-representation and
     meaningful access to the courts” Alvarez v. Hill, 518 F.3d 1152, 1158 (9th Cir.
24
     2008). Plaintiff is not a federal litigator, she was an immigration lawyer who filed
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     this case in a federal court first time in her life. She didn’t have any intention to
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     represent other people as an attorney in this Court and that’s why she didn’t seek
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 1   such registration. Since it was obtained by fraud, Plaintiff now asks to apply to all
 2   her requests liberal construction applicable to all pro-se litigants and as such her ex
 3   parte application for reconsideration should be granted. She is suing multiple
 4   defendants having counsels of records who have rich experience litigating cases in
 5   this Court, ignoring this fact and considering her as a registered attorney against
 6   her will is another violation of her Due Process Rights under U.S. Constitution.
 7
 8         5. Judge’s order dated January 6, 2025, is void as a result of the fraud
 9   on court.

10
           “ Because the power to vacate for fraud on the court “is so great, and so free
11
     from procedural limitations,” 11 Wright & Miller § 2870, we have held that “not
12
     all fraud is fraud on the court…” United States v. Est. of Stonehill, 660 F.3d 415,
13
14   444 (9th Cir. 2011). “In determining whether fraud constitutes fraud on the court,
15   the relevant inquiry is not whether fraudulent conduct “prejudiced the opposing
16   party,” but whether it “ ‘harm[ed]’ the integrity of the judicial process.” Alexander
17   v. Robertson, 882 F.2d 421, 424 (9th Cir.1989).” Id.
18
19         Here, the Judge’s and his staff’s actions harmed the integrity of the judicial
20   system (See Docket # 147). Joining defendants against Plaintiff, in fact joining the
21   cartel against Plaintiff, constantly closing her Pacer account in the hope to break
22   her case, making her to register as an attorney to deprive her a pro-se status, to

23   undermine her work by setting unrealistic deadlines for her to respond didn’t just

24   harm Plaintiff, it blew up the integrity of the judicial system. Judge’s order in this

25   regard (Docket # 146) shall be considered void.

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 1   III. CONSLUSION
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 3         Considering all foregoing Plaintiff respectfully asks the Court to reconsider
 4   Judge Huie’s order (Docket # 146) and grant her request to continue Defendants’
 5   motions hearing dates till March 6, 2025 with the deadline for her to respond to
 6   these motions till February 20, 2025.
 7
 8         DATED: January 8, 2025
 9
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11                                           By: Aynur Baghirzade
                                             Aynur Baghirzade, Plaintiff
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